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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA

JOHN DOE,                            )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )     Civil Action No. 1:18-cv-553-RMC
                                     )
THE GEORGE WASHINGTON                )
UNIVERSITY,                          )
                                     )
      Defendant.                     )
                                     )

                        REPLY IN SUPPORT OF JOHN DOE’S
                      MOTION FOR A PRELIMINARY INJUNCTION




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                                         INTRODUCTION

        In its Opposition, George Washington University (“GW” or “the University’’) sings a

familiar tune: Granting Mr. Doe’s request for a preliminary injunction, it says, would be an

unprecedented act of judicial overreach that would do violence to the system that GW has set up

to adjudicate allegations of sexual misconduct. Moreover, it would turn this Court into a

“university-super administrator” that would be called upon, time and again, to ignore the

“tremendous deference” that courts should show to a school’s “sacred” duties. Opp’n at 8-10.

        None of that is true. All Mr. Doe asks is that this Court order the temporary conferral of

a revocable degree in May of 2018—a degree that GW itself has admitted it will grant him “at

the end of his suspension in January 2019,” Opp’n at 9, if this Court does not order it to do so

before then. In short, Mr. Doe isn’t asking this Court to grant him something that GW isn’t

willing to give him; he is asking this Court to grant him something that GW isn’t willing to

give him quite yet. There is nothing radical about that. Indeed, what Mr. Doe asks the Court to

do here is less radical than what students usually request in these cases, which is to be returned to

campus and allowed to continue their normal course of schooling—which can, of course, result

in the (temporary) conferral of a (revocable) degree. But Mr. Doe, who has already completed

all of his graduation requirements, isn’t even asking that. He isn’t asking to return to GW’s

campus, or to reenroll in classes that might lead him to cross paths with Ms. Roe—who, it bears

repeating, waited more than two years to file her complaint against Mr. Doe. Rather, he simply

asks this Court to do one thing, should it find that he is likely to prevail on the merits of this case:

to limit the harm that GW has done to him by ordering GW to temporarily grant him a revocable

degree, which would in turn allow him to move on with his life as he would have been able to do

absent GW’s violation of his contractual rights and its own Title IX obligations. It is not Mr.




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Doe’s request that is without precedent; rather, it is GW’s suggestion that a student suspended

(or even expelled) at the very end of his college career has only two choices: accept the

punishment without complaint, or file a lawsuit and just… wait. As courts across this country

have shown time and again, and in this very context, while such a regime might be good for

schools, it is not, in fact, the law.

        Moreover, since Mr. Doe filed his Complaint, he has acquired new evidence, through a

court-ordered phone-records subpoena, showing that one of the most important pieces of

testimony at his hearing—regarding a claimed phone call between Ms. Roe and E.E.

allegedly proving that Ms. Roe was incapacitated—was fabricated. That evidence, which is

discussed in footnote 2 at pages 13 and 14 below, casts even further doubt on the result in the

flawed and biased process through which GW put Mr. Doe.

                                           ARGUMENT

I.      JOHN DOE’S REQUESTED REMEDY IS AVAILABLE AS FINAL—AND
        PRELIMINARY—RELIEF.

        GW asserts that giving Mr. Doe a diploma on his graduation date in May 2018 would be

“extraordinary,” “without precedent,” and have “the strong potential to result in irreparable harm

to the university.” Opp’n at 2. GW’s arguments on this score, when stripped of their hyperbole,

appear to be twofold: (1) that the Court may not issue an order as part of a preliminary

injunction—even just to preserve the status quo—unless the plaintiff would be entitled to that

same relief after a final decision on the merits; and (2) relatedly, that no court has ever issued a

preliminary injunction permitting a plaintiff to obtain his or her diploma over a school’s

objection. Opp’n at 8-10. For at least the following four reasons, GW’s arguments are incorrect.

        First, GW is mistaken that the relief a court orders to effect a preliminary injunction must

mirror the relief the plaintiff would obtain after prevailing at trial. While the two kinds of relief



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must indeed be of the same “character,” Opp’n at 8, that does not mean “identical,” as both

common sense and the case law demonstrate. Contrary to GW’s argument, a court’s power to

issue a preliminary injunction includes the power to issue whatever ancillary relief is necessary

to effect the injunction. See F.T.C. v. Elders Grain, Inc., 868 F.2d 901, 907 (7th Cir. 1989)

(Posner, J.). (recognizing that “the statutory grant of the power to issue a preliminary injunction

carries with it the power to issue whatever ancillary relief is necessary to the effective exercise of

the granted power”); SEC v. American Institute Counselors, Inc., Fed. Sec. L. Rep. 95, 388

(D.D.C. 1975) (“It is a familiar tenet of equity that the remedy of a preliminary injunction, which

has as its general purpose the preservation of the status quo, pendente lite, can be protective or

restorative as well as preventive. The maintenance of the status quo is intended to preserve a

state of affairs such that final injunctive relief is both meaningful and effective.”) (citing 7

Moore Federal Practice, at 1626 (2d ed. 1975)). Here, GW’s conferral of a diploma upon Mr.

Doe pending a trial on the merits is necessary to prevent the lifelong harm of a substantial gap in

Mr. Doe’s scholastic or employment record.

       Second, while GW apparently believes that requiring the temporary conferral of a

revocable diploma is somehow different—and more intrusive—than the traditional remedy

courts have ordered of temporarily enjoining a school’s disciplinary action, in this case there is

no practical difference. The parties here agree that, but for the suspension, GW would be

conferring a diploma upon Mr. Doe in May 2018, as Mr. Doe has satisfied all of the educational

requirements to graduate. Accordingly, the result of this Court’s ordering GW to confer the

diploma in May 2018 pending a final determination on the merits, on the one hand, or

temporarily enjoining Mr. Doe’s suspension, on the other, is precisely the same. Under either




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scenario, Mr. Doe would receive a revocable diploma in May 2018, pending a final

disposition of the case on the merits of this action.

       Ironically, GW’s position appears to be that Mr. Doe has not asked for enough. Under

GW’s reasoning, Mr. Doe would be in far less controversial territory had he asked the Court to

enjoin the school’s disciplinary sanction in its entirety and return him to campus, instead of

seeking the relatively modest relief that he is. Mr. Doe would then be requesting the same relief

that the plaintiffs requested—and that courts have ordered—in the many cases granting

preliminary injunctions in similar circumstances. See, e.g., Doe v. Middlebury College, No. 15-

192, 2015 WL 5488109 (D. Vt. Sept. 16, 2015) (ordering that Middlebury “shall not expel

Plaintiff and shall allow him to remain enrolled in his courses for the fall . . . semester”); King v.

DePauw Univ., No. 14-70, 2014 WL 4197507 (S.D. Ind. Aug. 22, 2014). Had Mr. Doe sought

the kind of expansive relief that the plaintiffs successfully obtained in Middlebury and King,

presumably GW would no longer be arguing—because it could not credibly do so—that the

relief Mr. Doe seeks is “without precedent” and “would break new legal ground.” Opp’n at 8-9.

       Third, as the above discussion suggests, GW’s argument that Mr. Doe has cited no case

in which a school was required to confer a diploma pursuant to a preliminary injunction is

misleading. Mr. Doe has, in fact, cited cases that required much more than that. The Middlebury

court ordered the return of an expelled plaintiff to school—a much smaller school than GW—for

his entire senior year, expressly contemplating that it would include his graduation. See id. at *4

(ordering the continued enrollment in the fall of 2015 of a plaintiff who “expected to graduate

from Middlebury in 2016”). The school’s remedy if it prevailed on the merits, the court held,

was simply to withhold or revoke the diploma. See id. (noting that “if Middlebury prevails on

the merits, it can refuse to award, or revoke, Plaintiff’s diploma and maintain Plaintiff’s




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disciplinary record in its files”). The only reason the court did not directly order conferral of his

degree was because the burden it imposed on the school was far greater and clearly encompassed

the right to obtain his degree. The same is true in King. The court did not order the plaintiff re-

admitted simply to complete his degree; he was ordered back to school for his senior year

“without restriction.” King, 2014 WL 4197507, at *15. Thus, because the school was barred

from imposing discipline on the plaintiff during the lawsuit, it was required to give him his

diploma as long as the litigation was continuing at the time of his graduation.

       GW cites only one case in support of its argument that courts will not order relief

implicating the conferral of a diploma at the preliminary injunction stage: Doe v. Univ. of Notre

Dame, No. 17-298, 2017 WL1836939, at *14 (N.D. Ind. May 8, 2017). That is a surprising case

for GW to cite, however, as the Notre Dame plaintiff was expressly not seeking such relief. As

the court noted in the very first paragraph of its opinion, Mr. Doe was “not seeking the conferral

of his degree at this time.” Id. at *1. Given that the plaintiff was not asking the court to order

the conferral of his diploma, GW’s citation of Notre Dame as a case where a court “refus[ed] to

award degree,” Opp’n at 10 (emphasis added), or as one where the court held that an order

requiring conferral of a degree was “wholly inappropriate,” id., is grossly misleading. The

reality is that GW cannot cite a single case holding that a court should not order the

temporary conferral of a revocable diploma in order to prevent irreparable harm.

       Fourth, GW attaches significance to the fact that the Court here would “affirmatively”

order the conferral of a revocable diploma, instead of returning a student to school so he could

obtain the diploma in due course. See Opp’n at 10. But as GW well knows, there are numerous

cases where courts have ordered the reinstatement of plaintiffs to the schools such that the

plaintiffs would receive their diplomas in due course. Thus, it is only by injecting the word




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“affirmatively” into its argument that GW’s characterization of the relevant precedent is even

technically accurate. It is, in substance, simply a dodge.

       Furthermore, insofar as GW is suggesting that by “affirmatively” ordering GW to confer

a diploma upon Mr. Doe, the Court is improperly altering the status quo—as opposed to

preserving it—that is also misleading. The status quo in this case before the hearing board

issued its decision was that GW intended to confer a diploma upon Mr. Doe in May 2018. In

ordering that GW continue to do what it would have done absent the hearing board’s actions, the

Court would be doing precisely what the law requires at this stage: preserving the status quo

pending a full determination the merits.

       The relief that Mr. Doe requests—temporary conferral of a revocable diploma—is in fact

far less burdensome for GW than the relief that numerous courts have ordered under nearly

identical circumstances, i.e., returning a student to campus to continue his or her education. Mr.

Doe’s request is neither dramatic nor groundbreaking; rather, it is required to prevent irreparable

harm to Mr. Doe. Mr. Doe therefore respectfully requests that the Court include this relief in its

order entering a preliminary injunction.

II.    JOHN DOE IS LIKELY TO SUCCEED ON THE MERITS OF HIS CLAIMS.

       A.      Breach of Contract.

       Regarding Mr. Doe’s likelihood of success on the merits of his breach of contract claim,

GW offers three responses, each of which leaves apparent that Mr. Doe will prevail on his claim:

(i) that GW is free to ignore its promised procedural protections in withholding a diploma, (ii)

that, on this record, GW actually provided those protections, and (iii) that it continues to object

to Doe’s requested relief. We address those contentions in turn.




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               1. Contractual Obligation. GW begins by suggesting that it was not bound to

follow its published procedures (and particularly its Sexual Harassment and Sexual Violence

Policy (“Policy”) and Code of Student Conduct (“Code”)) in withholding Mr. Doe’s degree. See

Opp’n at 11-13. The case law, Policy, and Code establish otherwise.

       In Basch v. George Washington Univ., 370 A.2d 1364 (D.C. 1977), the D.C. Court of

Appeals considered a student challenge to GW conduct that was allegedly in violation of its

published materials. The Court had no trouble stating the “accepted” and “general rule”: “that

the relationship between a university and its students is contractual in nature” and “the terms set

down in a university’s bulletin become a part of that contract.” 370 A.2d at 1366. The Court

later sided with the university, but only because the particular language at issue (regarding future

tuition increases) had not guaranteed the students certain limits on those increases, as the

students insisted. See id. at 1365, 1367-68 (noting that the bulletin had referred only to

“estimated” future tuition increases and had included this disclaimer noting that “it is not

possible to project future economic data with certainty, and circumstances may require an

adjustment in this estimate”).

       In Pride v. Howard Univ., 384 A.2d 31, 34 (D.C. 1978), the D.C. Court of Appeals began

with “the proposition established by Basch . . . that a contractual relationship exists between a

university and its students.” The Court further observed that, “in Basch, provisions of the

university’s bulletin were deemed part of its contract with the students,” and thus “accepted” that

“the Code, which was contained in the manual given to each student, constituted a part of the

contract between appellant and appellee.” 384 A.2d at 34. Indeed: “It has been established that

the usual practices surrounding a contractual relationship [in the student-university context] can

themselves be raised to the level of a contractual obligation.” Id. at 35 (citing Greene v. Howard




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Univ., 412 F.2d 1128, 1133 (D.C. Cir. 1969)). With these points established as a matter of law,

the Pride Court proceeded to do just what the Basch Court had done: Consider whether the

university met its contractual obligation by appropriately following the promises made in its

published material. See id. at 34-36 (considering whether the university abided by a statement

that the disciplinary hearing panel would be constituted in particular manner); see also, e.g.,

Alden v. Georgetown Univ., 734 A.2d 1103, 1110, 1011 n.11 (D.C. 1999) (noting Pride’s

holding that “provisions of the university’s code of conduct, contained in a manual given to each

student, constituted a part of the contract between [the] university and its students,” and thus

contractual “entitle[ment] to receive a degree” where the relevant requirements were met).

       In the face of these decisions, GW relies primarily on Mosby-Nickens v. Howard Univ.,

864 F. Supp. 2d 93 (D.D.C. 2012). In that case, the Court granted summary judgment in favor of

a university where a student failed to “ple[a]d any facts describing and/or identifying either the

terms of, or even the existence of, the contract” allegedly breached by a university. 854 F. Supp.

2d at 98. That decision, in short, turned on a pleading failure. Only in her summary judgment

opposition did the student begin to respond, providing only limited parts of the handbook. See

id. at 99 nn.3 & 4. The Mosby-Nickens Court considered whether “any language in the [provided

parts of the handbook]” demonstrated the university’s “intent to be bound.” Id. at 99.

       Here, the Policy and the Code clearly state GW’s intent to be bound. On its first page,

the Policy asks, “Who is Governed by This Policy?,” and immediately answers: “Faculty, staff,

students, visitors to GW campuses, and participants in university programs and activities, both

on campus and in other locations.” ECF No. 3-1 at 1. The Policy uses mandatory language

throughout. See, e.g., id. at 11 (GW “will further provide”); id. at Ex. C (“Formal Hearing

Procedures”) (particular GW office “will make,” “will also provide,” etc.). The Code likewise




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makes clear GW’s intent to be bound: “The following procedural guidelines shall be applicable

in all hearings . . . .” ECF No. 3-2 at 6; see also id. at 9 (appeal procedures likewise expressed in

mandatory language).1 In other words, GW’s reliance on the Mosby-Nickens “intent to be

bound” language serves only to highlight GW’s unambiguous contractual commitment to its

Policy and Code, and thus Doe’s likelihood of success in his claim.

               2. Breach. GW next attempts the impossible: Insisting that it complied with the

procedural safeguards promised to Mr. Doe. See Opp’n at 13-21. Those safeguards included a

right to a hearing, a right to present evidence at that hearing, and thus a right to a decision based

on the credible evidence adduced at that hearing; they also included a right to appeal any adverse

hearing determination. See ECF 3-2 at 6-8; ECF 3-1 at App. C. Yet GW did not provide those

protections here: There was a hearing, but it produced no result based on the credible evidence.

And GW refused to even consider Mr. Doe’s timely appeal.

       Because GW cannot establish that it actually provided its promised procedural

protections, it resorts to strawman mischaracterizations of Mr. Doe’s argument, e.g.: “which he

argues guarantee him a particular result from a disciplinary investigation and subsequent

proceedings.” Opp’n at 23. Mr. Doe argues no such thing; his likely-to-be-successful contract

claim is based entirely on GW’s own failure to provide its promised procedural protections.

                       a. Appeal. Perhaps nowhere was GW’s cynicism in disregarding its own

policies more evident than in its treatment of Mr. Doe’s appeal. GW’s Code provides:

               Parties have a right to appeal the outcome of a disciplinary hearing
               or conference but not the sanction. Appeals must be based on new

1
   That GW purported to reserve for itself the ability subsequently to modify its Code, see Opp’n
at 13, does nothing to save GW from its contractual commitment. The noted reservation does no
more than allow the university to update its policies, with prospective application, from time to
time. Its contractual obligation is to adhere to those policies. See, e.g., Alden, 734 A.2d at 1110
(applying policies in place at relevant time).


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               information that is relevant to the case, that was not previously
               presented at the hearing or conference, and that significantly alters
               the finding of fact.

ECF 3-2 at 8. Mr. Doe timely lodged an appeal; it contained “new” and “relevant” information

that was “not previously presented”: (i) expert analysis of Ms. Roe’s claimed alcohol

consumption (based on the brand-new, inflated claims of alcohol consumption she made at the

hearing), which analysis revealed that Ms. Roe’s claims in that regard were necessarily fanciful

in light of the testimony of every other witness (and, indeed, her own testimony) regarding her

comportment on the relevant evening; and (ii) an eyewitness to Ms. Roe’s behavior at the

relevant party (i.e., when Mr. Doe would have also seen her and had an opportunity to evaluate

whether she was incapacitated). See Mem. at 14-17. This information, considered separately

and certainly collectively, could only “significantly alter[] the finding of fact.” ECF 3-2 at 8.

Yet GW—notwithstanding its contractual promise to do so—refused even to consider it; its

Executive Director of Planning & Outreach (Robert Snyder), authorized under the Code only

with performing a gatekeeping “viability” analysis, dismissed the appeal without forwarding it,

as required by the Code, to “the Chair of the Committee on the Judicial System, who shall select

a Panel of three persons from the Committee to review and decide the appeal.” Id.; see also

Mem. at 14-17.

       In defending its refusal to consider Mr. Doe’s appeal, GW makes like an ostrich.

       First, GW labels the expert report “late,” when it indisputably was not. Compare Opp’n

at 20 (“late”), with ECF 3-2 at 8 (“Appeals must be submitted . . . within five business days

. . . .”), and ECF 6-16 (appeal filed January 30, 2018, five business days after decision). And if

GW means that the report should have been submitted at the hearing itself, that is equally silly:

It was only at the hearing that Ms. Roe, or anyone else, quantified for the first time (and




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implausibly, as the expert report revealed) the alcohol she allegedly had consumed; it was that,

and only that, information that allowed preparation of the report. See Mem. at 11.

       Second, GW makes the remarkable assertion that the expert report provides no new

information because Ms. Roe, at the hearing, had already revealed her claimed amount of alcohol

consumption. See Opp’n at 20. What is new about the report, however, is not the number of

claimed drinks but the expert analysis of that quantification—and the consequent exposing of

that testimony as fanciful. Ms. Roe provided false information about a material fact: She

grossly exaggerated her alcohol consumption, presumably to increase the likelihood that the

panel would determine her not just to have been drinking or intoxicated but to have been

incapacitated, a prerequisite for a finding that Mr. Doe should have known of that incapacitation.

While the panel members may have appreciated that Ms. Roe’s claimed alcohol consumption

would have impaired her (i.e., an inference beneficial to Ms. Roe), see Opp’n at 21 n.10, they

could not have calculated—because they did not have the benefit of expert analysis—the blood

alcohol content (“BAC”) that those claimed drinks would have produced, nor could they have

appreciated that those claims were flatly incredible in light of the balance of the testimony.

       And third, as to the new eyewitness testimony regarding Ms. Roe’s conduct at the critical

time that Mr. Doe would have had an opportunity to evaluate her capacity, GW argues that it

could have been proffered earlier. See Opp’n at 21. But GW’s appeal standard does not require

that evidence not have been available earlier; in fact, it expressly requires only that the evidence

be “new”—not “newly discovered.” ECF 3-2 at 8. Further, Mr. Doe established good cause for

not providing the evidence earlier: the given witness was studying outside the country, making it

much harder to obtain his evidence.




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                       b. Underlying Hearing. GW’s refusal to provide its promised procedures

is also plain as to the underlying hearing itself. Yes, GW held a hearing. But it then issued a

decision entirely divorced from the credible evidence adduced at that hearing, thereby leaving

compliance with the promised hearing procedures entirely illusory. In its Opposition, GW

strives to muddy those waters by pointing to the fact that hearing testimony revealed that Ms.

Roe had been drinking that night. See Opp’n at 16, 26. But Mr. Doe never contested that fact.

They met at a college party; of course he would assume she had been drinking. What matters is

not whether Ms. Roe was drinking or intoxicated. What matters is whether she was

incapacitated (i.e., too impaired to give consent), and whether Mr. Doe knew or had reason

to know that. Only then could his having sex with her have constituted sexual assault. See ECF

3-1 at 3; ECF 6-3; see also Mem. at 2-3.

       In DePauw, the Court considered—just as this Court is now considering—a motion for

preliminary injunction in which a student sought an order requiring reinstatement by his

university after a suspension for alleged sexual misconduct. In that case, there was substantial

evidence that the complainant had been drinking heavily on the relevant evening and that she

was acting unusually as a result, including by “dancing all over the place as if she did not have

complete control over her limbs,” falling, “screaming,” “jumping up and down,” rolling around

in the snow, “standing on couches,” and “pass[ing] out at some point.” 2014 WL 4197507 at *3-

6. The Court acknowledged that this evidence would have provided the DePauw’s disciplinary

panel with credible evidence of incapacitation. See id. at *12 (“It is clear that [the complainant]

was intoxicated on the night in question. Indeed, given all of the information the Board had

before it, it was not unreasonable for it to conclude that [she] was intoxicated to the point of

incapacitation.”). Nonetheless, the Court still granted the student’s preliminary injunction. See




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id. at *12-13, 15. It did so because, as here, the record was devoid of evidence that the accused

student knew or should have known that the complainant may have been incapacitated: He had

not witnessed the complainant’s consumption of significant alcohol, nor was there evidence that

he had observed the above-described conduct that might have put him on notice of her alleged

incapacitation. See id. at *12 (“But the evidence is essentially uncontroverted that [the accused]

did not know any of these facts when he engaged in sexual activity with [the complainant].”).

       So too here. The record in this case contains not a single piece of credible evidence

that Mr. Doe knew or should have known of Ms. Roe’s alleged inability to consent.

Nothing. See, e.g., Mem. at 21-27 (three of Ms. Roe’s four witnesses were unable to testify that

she was at all intoxicated at the party where she met and propositioned Mr. Doe; the fourth

indicated that Ms. Roe appeared intoxicated but was unable to say more; there was no evidence

of Ms. Roe stumbling in Mr. Doe’s presence; and indeed, Ms. Roe was observed crossing the

street without difficulty). GW returns repeatedly to Doe’s statement at the hearing that “I mean,

based on what I observed from her state of mind, there was not enough intoxication that I

witnessed that would constitute a large enough disparity for it to be unconsensual.” See Opp’n at

2-3, 18 (adding a “[sic]” to end of quotation and emphasizing various words). GW’s effort to

mock Doe’s articulation is confounding; his statement, while perhaps uttered more like a college

student than GW would have preferred, is both perfectly clear: Mr. Doe had no reason to think

that Ms. Roe was too drunk to consent to sex. GW’s conclusion to the contrary, notwithstanding

all the evidence from the hearing, deprived Mr. Doe of his contractual right to that hearing.2



2
  What, though, of witness E.E.’s statement that she spoke by telephone with Ms. Roe while Ms.
Roe travelled in an Uber with Mr. Doe (from the party to Mr. Doe’s apartment), and that Ms.
Roe, in that conversation, slurred her speech? Could that be the thin reed that might have
supported the idea that Mr. Doe could have been on notice of Ms. Roe’s alleged incapacitation?


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       To all this, GW has little further response. It argues that a deferential “arbitrary and

capricious” standard should apply, even though this is not a case involving allegedly defective

academic performance. Opp’n at 15. But the only authority GW cites for that assertion, Hajjar-

Nejad v. George Washington Univ., 37 F. Supp. 3d 90, 117 (D.D.C. 2014), was a case of

allegedly defective academic performance, as the relevant court noted on the same page cited by

GW, see id. at 117 (considering discipline imposed on medical student for “lack of professional

comportment,” and concluding “professional comportment issues fall under the umbrella of

deference to academic decisions”). And, more fundamentally, for all the reasons noted above,

GW failed to provide its promised procedural protections, even under GW’s preferred, more

deferential standard.




        No—and there is quite a story there. First, Ms. Roe and E.E.’s testimony on these points
already was not credible, in that E.E. made the claim late (after it was clear that the record
contained no evidence that Mr. Doe was on notice of any incapacitation—because he wasn’t),
and then contradicted herself regarding that call, first saying that she had telephoned Ms. Roe,
and then claiming that Ms. Roe had called her. See Mem. at 6-14. Ms. Roe, for her part, never
mentioned any such call in her first, second, or third statements to GW investigators—only
claiming that it happened after realizing that E.E. belatedly had come forward with the story.
See id.
       More dramatically, it now appears that the call never happened: E.E. and Ms. Roe
simply made it up, apparently in a desperate effort to manufacture some piece of evidence
that might have put Mr. Doe on notice of Ms. Roe’s claimed incapacitation.
        How do we know? On March 16, 2018, this Court approved Mr. Doe’s request for a
subpoena for E.E.’s phone records. See Minute Order (Mar. 16, 2018). On March 26, 2018, the
results arrived, and Mr. Doe will submit them as evidence at the hearing. Those results reveal
that, between 11:26 p.m. and 12:21 a.m. (the time during which Ms. Roe and Mr. Doe travelled
in an Uber from the party to Mr. Doe’s apartment), E.E. in fact neither made nor received a
single telephone call.
       Two days later, on March 28, 2018, Mr. Doe made GW aware of these records and their
import. Still, on March 30, 2018, GW filed its Opposition, continuing to insist that Mr. Doe’s
suspension should stand—and remarkably, even highlighting Ms. Roe and E.E.’s fabricated
testimony regarding the phone call and supposed slurred speech. See Opp’n at 18.


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               3. Appropriate Remedy. GW’s last response to Mr. Doe’s likelihood of success

on his contract claim is simply a rehashing of its objections to his requested remedy. See Opp’n

at 22. We refuted those objections above.

       B.      Breach of the Implied Covenant of Good Faith and Fair Dealing.

       GW also offers three responses regarding Mr. Doe’s likelihood of success on his claim

for breach of the implied covenant of good faith and fair dealing. See Opp’n at 22-25. These

responses, however, largely mirror its defective objections regarding Mr. Doe’s breach of

contract claim and so fail for the same reasons.

       GW first argues that, if Mr. Doe’s implied covenant claim entirely duplicates his breach

of contract claim, then it is improper (or at least unnecessary). See Opp’n at 23. But the implied

covenant claim does not do that. Its premise is simple: Even if the Court were to agree (as it

should not) with GW’s argument that the university-student contractual relationship does not

include the Policy and Code, GW nonetheless would be contractually obligated, via the implied

covenant, to provide the basic procedural protections promised therein. See Compl. ¶¶ 196-201.

In other words, the claims arise from different premises; they are alternative, not duplicative.

       GW next argues that Mr. Doe’s implied covenant claim cannot provide contractual rights

greater than the express terms of the parties’ contract (i.e., greater than the terms of the Policy

and Code). See Opp’n at 23-24. But that argument is premised on the Policy’s and the Code’s

constituting express contractual terms, contrary to GW’s insistence elsewhere—and, of course,

under that scenario, Mr. Doe simply succeeds under his breach of contract claim.

       Finally, GW repeats its argument that this Court should apply only a deferential arbitrary-

and-capricious standard, notwithstanding that this matter does not deal with academic

misconduct. See Opp’n at 24-25. That argument remains defective, and irrelevant, for the




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reasons stated above. To the extent that GW argues that an implied covenant claim requires a

special showing of ill will, Mr. Doe has established just that, including via the hearing panel

chair’s opining, immediately after Ms. Roe’s opening statement, that Ms. Roe in fact had been

mistreated—which is what they were having a hearing to decide. See ECF 6-14 at 11

(referencing “extremely traumatic experience reliving things”); see also Mem. at 21-30, 30-34.

       C.      Title IX.

       Regarding Mr. Doe’s likelihood of success on his Title IX claim, GW concedes that to

prevail, Mr. Doe need only show (i) doubt about the accuracy of the result in the disciplinary

proceeding against him, and (ii) that gender bias motivated that doubtful result. See Opp’n at 26.

On the first prong, Mr. Doe easily succeeds, for all the reasons discussed in his opening brief and

above: He has established not only doubt about the result of that proceeding, but that it was

rendered in absolute contempt of the evidence and the truth. See Mem. at 21-30; cf. Opp’n at 25

(defending the proceeding only by noting that it included evidence of Ms. Roe’s intoxication—

an entirely uncontested issue in a case that was about incapacitation).

       GW’s defense of the Title IX claim, then, turns on the degree to which gender bias

affected the adjudication in Mr. Doe’s case. There, GW insists that none of Mr. Doe’s indicia of

bias “are sufficient,” standing alone, to establish that gender bias motivated the determination.

Opp’n at 25. But Mr. Doe is likely to succeed on this claim precisely because those indicia, in

context and in combination, offer overwhelming evidence that GW’s gender-biased approach to

allegations of sexual assault motivated the outcome of Doe’s proceeding.

       GW’s gendered approach to Mr. Doe’s disciplinary proceeding is plain:

       First, GW was under intense pressure to protect female sexual assault accusers, including

in the context of both (i) a highly public, and oddly similar case involving a female student




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accusing a male rugby player, who was about to graduate, of a sexual assault that allegedly

occurred more than two years earlier and during the accuser’s freshman year, and (ii) an

ongoing, active investigation by the U.S. Department of Education’s Office for Civil Rights. See

ECF 6-6; ECF 6-7; ECF 6-8; ECF 6-9; ECF 6-10; ECF 6-13; see also Mem. at 4-5.

       Second, in response to that pressure, GW already publicly staked its defense to its ability

to obtain disciplinary findings against respondents in sexual assault adjudications. See ECF 6-8

(reassuring the campus community that 100% of the students put through its formal sexual

misconduct hearing process over the past two academic years— all of whom were male, on

information and belief (and not denied by GW in its Opposition)—had been found responsible).

       Third, and also in response to that pressure, GW—rather than hire someone unbiased for

the critical job of conducting sexual assault investigations—hired Kiera Bloore, whose previous

experience was in aid of “student-survivors”; indeed, while serving as GW’s Title IX

Investigator, she has continued her work on behalf of accusers. See ECF 6-11; Compl. ¶ 48.

       Fourth, GW structured its trainings regarding sexual assault claims in a manner notably

different than its trainings about any other type of alleged wrongdoing: For alleged non-sexual

misconduct, GW “address[ed] [the] roles and responsibilities of panel members, hearing

procedures, applicable policies, and other techniques and standards pertinent to the formal

complaint and hearing process,” ECF 3-1 at 22, while, for alleged sexual misconduct, GW

assumed complainants to be “victims” and instructed its staff “to conduct investigations and

hearings in a manner that protects the safety of victims and promotes accountability,” id. at 11.

       Fifth, GW further infused its relevant campus trainings with gender bias, including by

entitling one course “[H]ow male students can prevent sexual assault,” ECF 6-4, and even

endorsing the teachings of “internet personality” Laci Green, who instructs that sexual assault




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claimants should be believed because “distrust of rape survivors” is fueled by “distrust of

women” and that “one of the sneakiest and . . . most pervasive reasons why people don’t believe

survivors is that most survivors are women,” ECF 6-3; Mem. at 4.

       And sixth, the chair of the disciplinary hearing panel in Mr. Doe’s case, having

apparently internalized these gendered biases, reflected them from the beginning of Mr. Doe’s

hearing; he announced, immediately following Ms. Roe’s opening statement, his view that she

had experienced something “extremely traumatic.” ECF 6-14 at 11. Imagine if he had said, at

the end of Mr. Doe’s opening, that “Mr. Doe appears to have been falsely accused.” Would GW

would have tolerated that?

       While GW can point to isolated cases finding that individual factors (e.g., public

pressure) may be insufficient to establish gender bias, Opp’n at 29-31, none of those cases

involved the extraordinary number of factors present here. In other words, GW wants this Court

to look at the evidence of gender bias stick-by-stick; what courts do in discrimination cases,

however, is look at the bundle—and the bundle here shows overwhelming evidence of gender

bias. See, e.g., Mem. at 31-34 & nn.14-18 (citing a host of cases considering factors like those

above to support gender bias).

       D.      D.C. Human Rights Act.

       Doe’s D.C. Human Rights Act claim is likely to succeed under either of two theories:

disparate treatment or disparate impact. See Mem. at 34-37; Compl. ¶¶ 150-166.

       Regarding the first of those theories (disparate treatment), GW merely incorporates the

arguments it made regarding Doe’s likelihood of success on his Title IX claim, which responses

are defective for all of the reasons stated above. See Opp’n at 31.




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        Regarding the second of those theories (disparate impact), GW argues that (1) the Court,

contrary to the plain language of the D.C. Human Rights Act (and the case law), should construe

it not to permit such a claim, and (2)(i) Doe’s ability to demonstrate disparate impact somehow is

hampered by GW’s overt gender biases, (ii) GW has a business necessity to impose anti-

respondent policies in the single area where respondents are overwhelmingly likely to be male,

and (iii) GW’s touted 100% rate of finding against respondents, in its formal sexual misconduct

hearing process over the past two academic years, does not in fact suggest a disparate impact.

See Opp’n at 31-38. Each of these arguments is notably weak.

        First, basic principles of statutory interpretation bar GW’s “construction” of the D.C.

Human Rights Act to bar disparate impact claims. By its plain language, the Act bars “[a]ny

practice which has the effect or consequence of violating any of the provisions of this chapter,”

D.C. Code § 2-1402.68 (emphasis added). In other words, the Act bars any practice that has the

effect or consequence of an educational institution’s “deny[ing], restrict[ing], or . . . abridg[ing]

or condition[ing] the use of, or access to, any of its facilities, services, programs, or benefits . . .

for a discriminatory reason,” including “based upon the actual or perceived . . . sex . . . of any

individual.” D.C. Code § 2-1402.41. Given this plain language, it is no surprise that this Court,

in at least one case, already has held the D.C Human Rights Act to permit disparate impact

claims. See Smith v. Henderson, 982 F. Supp. 2d 32, 52 (D.D.C. 2013) (Boasberg, J.) (holding a

disparate impact claim under D.C. Human Rights Act actionable where school closing

procedures disproportionately affected a particular racial group).

        Yet GW would have this Court read the disparate impact language out of the statute. See

Opp’n at 32-35. GW so argues by insisting that because Title IX does not permit disparate

impact claims, that somehow means that the D.C Human Rights Act shouldn’t either. See id.




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GW never bridges that non sequitur, nor could it: These are two entirely separate statutes;

indeed, if they were identical, one of them would not need to exist.3

       Nor, as GW curiously suggests, does the D.C. Human Rights Act’s disparate impact

language conflict with Title IX, thereby implicating the Supremacy Clause. The language of

Title IX says nothing on the question; it has just been construed by some courts to bar disparate

impact claims only because its language resembles that of Title VI, which has similarly been

construed by courts to bar disparate impact claims. Disparate impact claims do nothing to

frustrate Title IX’s purpose of eradicating discrimination in the educational context, and nothing

in Title IX requires, whether expressly or by implication, that such claims be barred. And

certainly, nothing in Title IX requires, or even authorizes, practices that impose a disparate

impact on the basis of gender; certainly, Title IX does not require, or authorize, the use of a

separate (and anti-respondent) adjudicatory process only for a class of cases (sexual assault

claims) for which males are particularly likely to be named as respondents. Indeed, GW’s

suggestion to the contrary reveals its own recognition that, in its perhaps well-intentioned zeal to

appease the U.S. Department of Education, activists, and the public generally, it in fact has

instituted policies that are not gender-neutral but, instead, disproportionately impact males.

       Second, GW’s arguments that Mr. Doe is unlikely to establish an actual disparate impact,

see Opp’n at 35-38, are equally unavailing. That GW has exhibited overt gender bias does

nothing to undermine Doe’s separate claim of disparate impact. And that disparate impact claim

is all but certain to prevail given GW’s admission—indeed, touting—of its success in obtaining a



3
  GW’s citation, see Opp’n at 33, to Zuccaro v. Martinez Unified School District, 2016 WL
10807692 (N.D. Cal. 2016), in which that court construed an entirely separate California statute
in conformance with Title IX, is even further afield. The relevant California statute, unlike the
D.C. Human Rights Act, expressly included the following: “It is the intent of the Legislature
that this chapter shall be interpreted as consistent with . . . Title IX.” Cal. Educ. Code § 201(g)).

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finding of responsibility as to every respondent put through its formal sexual misconduct hearing

process over the past two academic years—all ten of whom, on information and belief (and not

denied by GW), were males. See ECF 6-7.4 Nor may GW escape Doe’s likelihood of success by

claiming a “business necessity” to impose such a gender-based disparate impact. It is farcical,

and deeply cynical, for GW to contend, as it does, that its “‘business cannot be conducted,’”

Opp’n at 36 (quoting D.C. Code § 2-1401.03), without employing a rigged discipline process in

the context of sexual misconduct allegations. See, e.g., Doe v. Brandeis, 177 F. Supp. 3d 561,

573 (D. Mass. 2016) (“Whether someone is a ‘victim’ is a conclusion to be reached at the end of

a fair process, not an assumption to be made at the beginning.”).

       Mr. Doe does not deny that GW must adjudicate claims of sexual misconduct. Nor does

he deny that most of the respondents in those proceedings are likely to be male. What is not

permissible under the D.C. Human Rights Act is to resolve those claims through a unique system

where complainants are viewed as more likely to be victims. If that were done in a category of

claims with predominantly African-American respondents, for example, the process would

rightly be characterized as having an impermissible disparate impact based on race. GW’s

system just as clearly has an impermissible disparate impact based on sex.




4
  Here, GW also notes that not all claims make it to the formal hearing process—but it is that
process that GW improperly wielded against Mr. Doe (and a host of other male students), and
about which Mr. Doe complains. It is that process—the formal sexual misconduct hearing
process—that GW intentionally set up, in contrast to its system of adjudicating all other alleged
violations, to target respondents, who are uniquely likely to be male. Most critically, GW
ignores the fact that it decides which cases to send through its formal process. ECF No. 3-1
at 16-17.

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III.   JOHN DOE WILL SUFFER IRREPARABLE HARM WITHOUT
       PRELIMINARY RELIEF.

       GW makes two main arguments for why Mr. Doe will not suffer irreparable harm in the

absence of a preliminary injunction: (1) that Mr. Doe’s injury is economic in nature; (2) that if

Mr. Doe prevails in this action and on remand, the degree conferred on him will reflect no gap

pursuant to GW’s practice related to administrative holds on graduation, and Mr. Doe will

therefore have suffered no harm. See Opp’n at 38-42.

       On the first point, and as Mr. Doe set forth in his initial motion, courts have repeatedly

held that an erroneous finding of sexual misconduct is not remediable through money damages,

due primarily to the creation of educational and/or vocational gaps in the student’s record. See,

e.g., Notre Dame, 2017 WL 1836939, at *12 (“I am persuaded that this [10-month] gap

constitutes irreparable harm to [the plaintiff’s] reputation and possible further academic

advancement. The questions the gap raises, and the explanation it requires, are potentially

damaging to [the plaintiff] in a manner not compensable by money damages and not repaired by

permanent injunctive relief that might be granted after a decision on the merits in [plaintiff’s]

favor.”); Middlebury, 2015 WL 5488109, at *3 (“While Plaintiff may recover money damages to

compensate for lost wages, money damages cannot compensate for the . . . delay in completion

of his degree, or the opportunity to begin his career . . . . Money damages cannot provide an

adequate remedy for such imminent and non-speculative harm.”). GW provides no reason for

this Court to reach a different conclusion.

       On the second point, the irreparable harm to Mr. Doe that would result from the

withholding of his degree is already apparent. While GW has now stated its willingness to date

Mr. Doe’s diploma “May 2018” should Mr. Doe prevail at trial and on remand, a “May 2018”

diploma conferred in the fall of 2018 or in 2019 cannot undo the irreparable harm that Mr. Doe



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will suffer in the interim absent a preliminary injunction. For example, Mr. Doe has now been

accepted into a graduate program that begins on September 24, 2018. See ECF No. 19,

Attachment to Ex. A (acceptance letter, filed under seal). A condition of his admission,

however, is that four weeks before the program starts, Mr. Doe must provide “formal notification

of the award of [Mr. Doe’s] current degree with a cumulative GPA of 3.5 or higher.” Id.

(emphasis in original).5 The failure to issue the injunction will cause the immediate and

irreparable harm of forcing Mr. Doe to refuse his offer of acceptance to the graduate program.

       Beyond Mr. Doe’s inability to accept the graduate-school offer absent a preliminary

injunction, failing to award Mr. Doe his diploma in a timely manner will have the debilitating

and permanent effect—regardless of which party ultimately prevails—of a gap in his

employment record. Absent injunctive relief, Mr. Doe will be unable to take any job that

requires a college degree until he prevails on the merits or January 2019, whichever comes first,

and will be forced to explain that gap to educational institutions and potential employers for the

remainder of his life. Just as in Notre Dame, Mr. Doe “will be putting his life on hold and will

have a lot of explaining to do to future employers and potential graduate schools.” Id. at * 13.

       GW’s proposed remedy of a diploma dated May 2018, but conferred much later, does

nothing to erase that gap; it simply changes its nature. Rather than having to explain a gap in his

undergraduate education, Mr. Doe will have to explain a gap between his current internship and

the next step in his career, whether that is graduate school or other appropriate employment. As

numerous courts have recognized, the foregoing constitutes irreparable harm, such that a

preliminary injunction should issue. See Middlebury, 2015 WL 5488109 at *3 (“While plaintiff



5
  The one-year deferral discussed on page 2 of the letter is not available unless Mr. Doe has
received his diploma prior to requesting the deferral. See id. at __ (“deferrals will not be
accepted where academic conditions have not been met”).

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may recover money damages to compensate for lost wages, money damages cannot compensate

for . . . the delay in the completion of his degree or the opportunity to being his career. . . Further,

Plaintiff would have to explain, for the remainder of his professional life, why his education . . .

contains a gap.”); Notre Dame, 2017 WL 1836939, at *12 (“I am persuaded that this gap

constitutes irreparable harm to [the plaintiff’s] reputation and resume for purposes of career

prospects and possible further academic advancement.”).

IV.     THE BALANCE OF EQUITIES OVERWHELMINGLY FAVORS
        PRELIMINARY RELIEF.

        GW does not dispute that, absent the hearing board’s finding and its imposition of a one-

year suspension, it would be conferring a diploma upon Mr. Doe in May 2018. GW also does

not dispute that it is going to give Mr. Doe his diploma in January of 2019. What GW argues

instead is that, by conferring a revocable diploma on Mr. Doe even temporarily, the university

would be “misrepresent[ing] to the world that plaintiff has satisfied all of the university’s

requirements to graduate.” Opp’n at 43. GW then proceeds to trot out a parade of horribles

about how granting a potentially temporary diploma to this one student would undermine its

reputation for excellence and turn the federal courts into “super-administrators.” Id.

        GW’s concerns are vastly overblown. As discussed above, a preliminary court order

temporarily conferring a revocable degree upon Mr. Doe is far less intrusive than Mr. Doe’s

compelled return to campus to continue his education, which is what other courts have ordered

under similar circumstances. See, e.g., Middlebury, 2015 WL 5488109, at *4; King, 2014 WL

4197507, at *15 ; see also Notre Dame, 2017 WL 1836939, at *12 (“An injunction requiring a

university to allow a student to return for an entire school year strikes me as a much greater

burden than what is being requested here---the taking of two final examinations.”). In those

cases, not only was the student obtaining a diploma in due course, but other students presumably



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saw him on campus, thereby affecting in far more substantial ways the image concerns that GW

proffers here. In sum, given the minimally intrusive nature of the relief Mr. Doe requests, the

balance of the equities overwhelmingly favors granting the preliminary injunction.

V.     THE PUBLIC INTEREST FAVORS PRELIMINARY RELIEF.

       GW suggests that an injunction would be against the public interest because it would

detract from a university’s ability to “independently investigate and, when appropriate, discipline

its students for misconduct.” Opp’n at 44. An injunction would do no such thing; to contrary, it

would remind universities that when they make promises to students, they have to keep them,

and that—no matter what kind of pressure they’re under—gender bias in the disciplinary process

is never excusable. GW also suggests that issuing an injunction forcing it to temporarily confer

a revocable degree would “destroy th[e] public trust” people have in what it takes to get a

college degree. It would do no such thing. Indeed, “[l]eaving in place a wrongfully imposed

sanction and the record of such is plainly contrary to the public interest.” Doe v. George Mason

Univ., 179 F. Supp. 3d at 588. Moreover, in light of the evidence showing that the single most

critical piece of evidence against Mr. Doe was fabricated, preliminary relief is warranted

now more than ever. Finally, GW’s argument again proves too much: under its logic, no court

should ever grant a student injunctive relief that would allow him to return to school and, in the

normal course of things, earn his (revocable) degree while the lawsuit marches on. Yet, as we

have detailed in our papers, that is something judges have done time and again in campus

disciplinary cases when faced with abuses like the ones wrought by GW here.

                                         CONCLUSION

       For the foregoing reasons, Mr. Doe respectfully requests that this Court grant his motion

for a preliminary injunction.




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                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on April 9, 2018, I filed via the Court’s CM/ECF system the foregoing

Reply in Support of John Doe’s Motion for a Preliminary Injunction, and I understand that the

system caused service of that document on counsel for all parties to this action.


                                                     /s/ Justin Dillon
                                                     Justin Dillon
